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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION
____________________________________________________________________________________

MONTERRIOUS HARRIS,

         Plaintiff,

vs.                                                      Case no: 2:23-CV-2058-JTF-tmp

CITY OF MEMPHIS,
EMMITT MARTIN III, DESMOND MILLS, JR.
JUSTIN SMITH, DEMETRIUS HALEY,
TADARRIUS BEAN, and JOHN DOES 1-4,
INDIVIDUALLY, AND
IN THEIR OFFICIAL CAPACITIES
AS CITY OF MEMPHIS LAW
ENFORCEMENT OFFICERS,

      Defendants.
____________________________________________________________________________

                 STATUS REPORT OF DEFENDANT JUSTIN SMITH
______________________________________________________________________________

         COMES NOW, Defendant Justin Smith, individually, through Counsel, and files this status

report, noting the following:

      1. On August 28, 2023, the Court granted a stay of this matter pending resolution of the

         criminal proceedings against the individually named Defendants. (Doc. 53, Order Staying

         Proceedings, Page ID 304-305).

      2. Pursuant to that Order, Defendants were ordered to file a Report and Status of the pending

         criminal proceedings by January 31, 2024, and every six (6) months thereafter until the

         Stay is lifted. (Id.).

      3. Defendant Justin Smith is still involved as a party in the pending state court criminal case.

         It has not been resolved and is not currently set for trial.
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   4. Since the issuance of the stay in this matter, Defendant Justin Smith has also been

       criminally indicted in the United States District Court for the Western District of

       Tennessee, Western Division at Memphis, Case Number 2:23-cr-20191-MSN.

   5. This federal criminal case is set for trial on May 6, 2024.

   6. Counsel for Justin Smith in this case has been monitoring the criminal proceedings and has

       spoken with Justin Smith’s counsel in the criminal proceedings, Martin Zummach.

   7. There are no further dates or other matters set of which Defendant Justin Smith is aware as

       of this filing.

                                              Respectfully Submitted,

                                               s/ Mary Elizabeth McKinney
                                              MARY ELIZABETH MCKINNEY, Bar No.21597
                                              DEBORAH GODWIN, Bar No.9972
                                              Attorneys for Justin Smith, Individually
                                              Godwin, Morris, Laurenzi & Bloomfield, P.C.
                                              50 North Front Street, Suite 800
                                              Memphis, TN 38103
                                              Telephone: (901) 528-1702
                                              Facsimile: (901) 528-0246
                                              dgodwin@gmlblaw.com




                                  CERTIFICATE OF SERVICE

       I, Mary Elizabeth McKinney, hereby certify that on January 31, 2024, I filed a copy of the

foregoing with the Court via the Court’s ECF system, and that upon filing, a copy will be sent via

the Court’s ECF system to all registered parties in this case.

                                              s/ Mary Elizabeth McKinney




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